Case 0:09-cv-61164-UU Document 64 Entered on FLSD Docket 06/04/2010 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                                   Case No. 09-61164-CIV-UNGARO

 JEFFREY D. BIANCHI,
      Plaintiff,

 v.

 BRONSON & MIGLIACCIO, LLP,
     Defendant.
                                                  /

                                       FINAL JUDGMENT

        THIS ACTION was tried by jury with Judge Ungaro presiding, and the jury entered a

 verdict on May 21, 2010 as follows:

        (1)    On the Fair Debt Collection Practices, 15 U.S.C. § 1692 et seq, claims, in favor of

               Plaintiff Jeffrey D. Bianchi in the amount of $500.00.

        (2)    On the Florida Consumer Practices Act, Fla. Stat. § 559.55 et seq, claims, in favor

               of Plaintiff Jeffrey D. Bianchi in the amount of $500.00.

        (3)    On the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq (“TCPA”),

               claim, in favor of Plaintiff Jeffrey D. Bianchi, finding that 67 calls violated the

               TCPA and that 45 of the calls were made willfully and knowingly in violation of

               TCPA. The Section 227(b)(3) of the TCPA awards $500 per violation, and the

               jury awarded an additional $100 for each call made willfully and knowingly in

               violation of TCPA.

        Following the jury’s verdict, Plaintiff withdrew his request for injunctive and declaratory

 relief. (See D.E. 50.) There was evidence at trial that Defendant also goes by the name Bronson



                                                 1
Case 0:09-cv-61164-UU Document 64 Entered on FLSD Docket 06/04/2010 Page 2 of 2




 Cawley, & Bergman, LLP. Both Plaintiff and Defendant agree that judgment should be entered

 against the Defendant as “Bronson & Migliaccio, LLP also known as Bronson Cawley &

 Bergman, LLP.” (See D.E. 50, 63).

         Accordingly, it is hereby

         ORDERED AND ADJUDGED that Plaintiff Jeffrey Bianchi shall recover a net principal

 amount of thirty-nine thousand dollars ($39,000.00) plus post judgment interest against

 Defendant Bronson & Migliaccio, LLP also known as Bronson Cawley & Bergman, LLP, for

 which let execution issue. The Court reserves jurisdiction on the issue of Plaintiff's attorney fees

 and costs. It is further

         ORDERED AND ADJUDGED that judgment is entered in favor of Defendant Bronson

 & Migliaccio, LLP also known as Bronson Cawley & Bergman, LLP and against Plaintiff Jeffrey

 D. Bianchi on Plaintiff’s declaratory and injunctive relief claims.

         DONE and ORDERED in Chambers in Miami, Florida, this 3d day of June, 2010.




                                                       _____________________________
                                                       URSULA UNGARO
                                                       UNITED STATES DISTRICT JUDGE


 cc:     Donald A. Yarbrough, Esq., Counsel for Plaintiff
         Michael L. Duncan, Esq., Counsel for Defendant




                                                  2
